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                                                                6

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                                                                8                           UNITED STATES DISTRICT COURT
                                                                9                         CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                    EASTERN DIVISION
                                                               11 INTERIOR ELECTRIC INCORPORATED                 Case No.:
MARQUIS AURBACH COFFING




                                                                  NEVADA, a Nevada corporation,
                                                               12                                                Related to Action Pending in the U.S.
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                           Movant,               District Court for the District of
                                                               13
                                Las Vegas, Nevada 89145




                                                                                                                 Nevada, Interior Electric Incorporated
                                  10001 Park Run Drive




                                                                       vs.
                                                               14                                                Nevada v. T.W.C. Construction, Inc. et al.,
                                                                  MELINDA BEVERLY; and SCHIFF &                  Case No. 2:18-cv-01118-JAD-VCF
                                                               15 SHELTON, ATTORNEYS AT LAW,

                                                               16                                Respondents.
                                                               17
                                                                       [PROPOSED] ORDER GRANTING PLAINTIFF INTERIOR ELECTRIC
                                                               18    INCORPORATED NEVADA’S MOTION TO COMPEL COMPLIANCE WITH
                                                                     RULE 45 SUBPOENAS DUCES TECUM AND FOR ATTORNEY FEES [DKT. 1]
                                                               19

                                                               20          Movant, Interior Electric Incorporated Nevada’s (“Movant”) moves to compel
                                                               21 compliance by Respondents and third parties to the underlying proceedings, Melinda

                                                               22 Beverly (“Ms. Beverly”) and Schiff & Shelton, Attorneys at Law (“S & S,” and with Ms.

                                                               23 Beverly, “Respondents”), with Rule 45 subpoenas duces tecum duly served by Movant in

                                                               24 the case of Interior Electric Incorporated Nevada v. T.W.C. Construction, Inc. et al., Case

                                                               25 No. 2:18-cv-01118-JAD-VCF (the “Nevada Action”), currently being litigated in the United

                                                               26 States District Court for the District of Nevada. Dkt. 1 (Mot.). Movant also seeks attorneys’
                                                               27 fees incurred in pursuing its instant motion. See id. For the reasons stated below, the

                                                               28 motion is GRANTED.
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                                                                1                                                I.
                                                                2                                        BACKGROUND
                                                                3            The Nevada Action is a complex commercial litigation action, with allegations and
                                                                4 claims including, inter alia, (1) breaches of contract and (2) of the implied covenant of good

                                                                5 faith and fair dealing by a general contractor (“TWC”) with whom Plaintiff previously

                                                                6 worked; (3) a claim against the surety bonds for payment of Plaintiff’s mechanic’s liens, (4)

                                                                7 improper withholdings by TWC under the Nevada Revised Statutes (“NRS”); (5) various

                                                                8 instances of copyright infringement and (6) removal or alteration of copyright management

                                                                9 information by TWC, two former “key employees” of Plaintiff (“Baquerizo” and

                                                               10 “Anderson”), and others; (7) breach of fiduciary duty by Baquerizo and Anderson; (8)

                                                               11 intentional interference with Plaintiff’s prospective economic advantage by Baquerizo,
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                                                               12 Anderson, and the principals of TWC – Matt Ryba (“Ryba”) and Mark Wilmer (“Wilmer”);
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                                                               13 (9) misappropriation of Plaintiff’s trade secrets and (10) conversion by Baquerizo,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 Anderson, and others; (11) various fraud claims against TWC and others; and (11) various

                                                               15 inchoate offenses for the collective action of the defendants in order to commit unlawful acts

                                                               16 in violation of Nevada and federal law.

                                                               17            Movant has submitted declarations from its counsel, along with the stipulation
                                                               18 required under LR 37 and its subparts, which collectively demonstrate that Movant has

                                                               19 satisfied its burden to meet and confer in good faith to resolve the dispute now before this

                                                               20 Court.       Respondents did not respond to Movant’s email providing an opportunity to
                                                               21 supplement the stipulation, pursuant to LR 37-2.2.        Movant’s declarations and related
                                                               22 exhibits establish that Movant issued subpoenas duces tecum (“Subpoenas”) to Respondents

                                                               23 and properly served the same under Federal Rule of Civil Procedure (“FRCP”) 45 on

                                                               24 January 23, 2020. As to each of Respondents, Movant’s Subpoenas commanded as follows:

                                                               25         1. Produce all texts you received from, or sent to, Matthew Ryba regarding Mark
                                                                             Beverly, Interior Electric, or any other person affiliated with Interior Electric.
                                                               26
                                                               27 / / /

                                                               28 / / /
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                                                                1      2. Produce all emails, including attachments, you received from, or sent to, Matthew
                                                                          Ryba regarding Mark Beverly, Interior Electric, or any other person affiliated with
                                                                2
                                                                          Interior Electric.
                                                                3
                                                                       3. Produce all Documents and Communications you received from, or sent to, Matthew
                                                                4
                                                                          Ryba regarding Mark Beverly, Interior Electric, or any other person affiliated with
                                                                5         Interior Electric.
                                                                6
                                                                       4. Produce all texts you received from, or sent to, any person affiliated with T.W.C.
                                                                7         Construction, Inc., regarding Mark Beverly, Interior Electric, or any other person
                                                                          affiliated with Interior Electric.
                                                                8

                                                                9      5. Produce all emails, including attachments, you received from, or sent to, any person
                                                                          affiliated with T.W.C. Construction, Inc., regarding Mark Beverly, Interior Electric,
                                                               10
                                                                          or any other person affiliated with Interior Electric.
                                                               11
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                                                                       6. Produce all Documents and Communications you received from, or sent to, any
                                                               12
                                                                          person affiliated with T.W.C. Construction, Inc., regarding Mark Beverly, Interior
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13         Electric, or any other person affiliated with Interior Electric.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14          Pursuant to LR 37-1, Movant’s counsel emailed Respondents’ on June 8, 2020, in
                                                               15 order to confirm representation by Ralph Shelton, Esq. (“Mr. Shelton”), and on June 11,

                                                               16 2020, Mr. Shelton instructed Mr. Jayne to call him. Movant has further established that, in

                                                               17 the months that followed that first contact, Movant’s attempted, more than ten times via

                                                               18 email and telephone, to address the deficiency, or complete absence of, Respondents’

                                                               19 respective responses to the Subpoenas. The most substantive of these communications, in

                                                               20 which Respondents were meaningfully engaged, occurred on June 18, 2020, at which time

                                                               21 Mr. Shelton acknowledged that Respondents possessed additional documents responsive to

                                                               22 the Subpoenas which had not been produced, and during which time Mr. Shelton

                                                               23 represented that the same would be produced in short course. Ms. Beverly responded with

                                                               24 no objections, no Affidavit of Custodian of Records, and only a small fraction of what she

                                                               25 apparently possesses, while S & S has never responded at all with either a production of

                                                               26 documents or any objections.
                                                               27         After repeated follow-up efforts by Movant’s counsel, via email and telephone,
                                                               28 attempting to procure the documents represented by Respondents to exist, Respondents still
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                                                                1 continued to disregard their compliance obligations, and Movant filed the instant motion on

                                                                2 October 6, 2020.

                                                                3                                                II.
                                                                4                                          DISCUSSION
                                                                5          A.     THIS COURT HAS JURISDICTION TO CONSIDER THE MOTION.
                                                                6          Motions to enforce a subpoena must be brought in the district where compliance is
                                                                7 required. FRCP 45(d)(2)(B)(ii); Chambers v. Whirlpool Corp., No. SA CV 11-1733 FMO

                                                                8 (JCGx), 2016 WL 9451360, at *3 (C.D. Cal. Aug. 12, 2016). Put another way, “the proper

                                                                9 district to hear a motion to compel is where [the Subpoenaed Parties are] headquartered.”

                                                               10 Europlay Capital Advisors, LLC v. Does, 323 F.R.D. 628, 629 (C.D. Cal. 2018) (citing

                                                               11 Music Grp. Macao Commercial Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 982, 984 (N.D.
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                                                               12 Cal. 2015) (holding that there is “no question” that the proper district to hear a motion to
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                                                               13 compel compliance with a Rule 45 nonparty subpoena is where the nonparty is
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 headquartered); AngioScore, Inc. v. TriReme Med., Inc., No. 12 CV 3393, 2014 WL

                                                               15 6706873, at *1 & n.1 (N.D. Cal. Nov. 25, 2014) (holding that a Rule 45 subpoena specifying

                                                               16 the place of compliance as more than 100 miles from nonparty’s headquarters was “invalid

                                                               17 on its face”); Procaps S.A. v. Patheon Inc., No. 12-24356-CIV, 2015 WL 1722481, at *3

                                                               18 (S.D. Fla. Apr. 15, 2015) (holding that district of compliance for Rule 45 subpoena is where

                                                               19 nonparty corporation was headquartered)).

                                                               20          Respondents were both served on January 23, 2020, with Ms. Beverly served at her
                                                               21 home in Rialto, California 92377, and S & S was served at its principal place of business or

                                                               22 “headquarters” in Newport Beach, California 92660. Both Rialto and Newport Beach are

                                                               23 located in the United States District Court for the Central District of California. Therefore,

                                                               24 this is the appropriate court to consider the instant Motion.

                                                               25          B.     RESPONDENTS    MUST    PRODUCE ALL  DOCUMENTS
                                                                                  RESPONSIVE TO THE SUBPOENAS BECAUSE THEY HAVE
                                                               26                 WAIVED ALL OBJECTIONS.
                                                               27          “Unless otherwise limited by court order, … [p]arties may obtain discovery
                                                               28 regarding any nonprivileged matter that is relevant to any party’s claim or defense.” FRCP
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                                                                1 26(b)(1). Of course, “[FRCP] 45 governs subpoenas duces tecum for the production of

                                                                2 documents with or without the taking of a deposition,” one of the purposes of which is “to

                                                                3 facilitate access outside the deposition procedure provided by Rule 30 to documents and

                                                                4 other information in the possession of persons who are not parties. … ” United States ex rel.

                                                                5 Schwartz v. TRW, Inc., 211 F.R.D. 388, 392 (C.D. Cal. 2002) (citing Advisory Comm. Notes

                                                                6 to 1991 Am. of Rule 45).

                                                                7          “The non-party witness is subject to the same scope of discovery under [FRCP 45] as
                                                                8 that person would be as a party to whom a request is addressed pursuant to Rule 34,” which

                                                                9 requests apply to all “matters within the scope of Rule 26(b).” Id. (citing FRCP 34(a)).

                                                               10 “Under Rule 45, the nonparty served with the subpoena duces tecum must make objections

                                                               11 to it within 14 days after service or before the time for compliance, if less than 14 days.” Id.
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                                                               12 (citing FRCP 45(c)(2)(B)). Respondents made no objections and, instead, committed to
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                                                               13 producing documents they acknowledged having.
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                                  10001 Park Run Drive




                                                               14          “Failure to serve timely objections waives all grounds for objection, including
                                                               15 privilege.” Id. (citing In re DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir. 1998)); see also

                                                               16 Safeco Ins. Co. of Am. v. Rawstrom, 183 F.R.D. 668, 671 (C.D. Cal. 1998) (“Objections not

                                                               17 interposed in a timely initial response may not be held in reserve and interposed after the

                                                               18 period allowed for response … ”); Moon v. SCP Pool Corp., 232 F.R.D. 633, 636 (C.D. Cal.

                                                               19 2005) (“A nonparty’s failure to timely make objections to a Rule 45 subpoena duces tecum

                                                               20 generally requires the court to find that any objections have been waived.”) (citing In re DG

                                                               21 Acquisition Corp., 151 F.3d 75, 81 (2d Cir.1998); Creative Gifts, Inc. v. UFO, 183 F.R.D.

                                                               22 568, 570 (D.N.M. 1998); Schwarzer, Tashima & Wagstaffe, California Practice Guide:

                                                               23 Federal Civil Procedure Before Trial, § 11:2293 (2005 rev.)). If a subpoenaed party fails to

                                                               24 comply, “[a]t any time, on notice to the commanded person, the serving party may move the

                                                               25 court for the district where compliance is required for an order compelling production … ”

                                                               26 FRCP 45(d)(2)(B)(i).
                                                               27          Respondents were duly served with valid Subpoenas on January 23, 2020, and the
                                                               28 Subpoenas comply with the 100-mile limit contained in FRCP 45 because they do not
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                                                                1 require travel of more than 100 miles and, in fact, allow production by either of two options:

                                                                2 via email or via delivery to a court reporting company in Irvine, California, which is well

                                                                3 within 100 miles for both of the Subpoenaed Parties.

                                                                4          Now, Respondents, having (1) been duly served, (2) admitted to possessing
                                                                5 responsive documents that have not been produced, (3) been given substantial time to

                                                                6 comply and produce, and (4) continued to refuse or ignore requests for production without

                                                                7 adequate excuse are hereby compelled to comply. See Poly-Med Novus Sci. PTE Ltd., No.

                                                                8 17-CV-649-DMS-WVG, 2017 WL 2291942, at *2 (S.D. Cal. May 25, 2017) (granting

                                                                9 motion to compel after subpoenaed party made no objections, requested additional time, had

                                                               10 five months pass, and still did not produce responsive documents).

                                                               11          Movant’s motion is, therefore, GRANTED, and Respondents are hereby ORDERED
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                                                               12 to produce all documents in their possession, custody, or control that are responsive to
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Movant’s Subpoenas within fourteen (14) calendar days from the date of this Order.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14          C.     THE SUBPOENAED PARTIES MUST EXECUTE THE RESPECTIVE
                                                                                  AFFIDAVITS OF CUSTODIAN OF RECORD TO AUTHENTICATE
                                                               15                 THE DOCUMENTS THEY PRODUCE.
                                                               16          Movant asks this Court to compel Respondents’ execution of their respective
                                                               17 Affidavits of Custodian of Records.

                                                               18          Movant argues that Respondents must sign, and return with their respective
                                                               19 responses to the Subpoenas, the Affidavits of Custodian of Records or otherwise be required

                                                               20 to bear the expenses to themselves and to Plaintiff of conducting their respective depositions

                                                               21 to authenticate the same due to their unreasonable refusal to execute the Affidavits. See Fed.

                                                               22 R. Evid. 902(11) (allowing authentication of records of a regularly conducted activity by

                                                               23 certification of the custodian); Fed. R. Evid. 803(6) (excepting from hearsay exclusion

                                                               24 records of a regularly conducted activity based on requirements provided in the affidavit of a

                                                               25 custodian); FRCP 26(g)(1)(A) (“Every … discovery … response … must be signed … by

                                                               26 the party personally, if unrepresented—and must state the signer’s address, e-mail address,
                                                               27 and telephone number. By signing, an attorney or party certifies that to the best of the

                                                               28
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                                                                1 person’s knowledge, information, and belief formed after a reasonable inquiry … with

                                                                2 respect to a disclosure, it is complete and correct as of the time it is made.”).

                                                                3          The Court agrees with Movant, and its motion is GRANTED such that Respondents
                                                                4 shall both execute the Affidavits of Custodian of Record that accompanied each of the

                                                                5 Subpoenas.

                                                                6          D.      MOVANT IS ENTITLED TO RECOVER ITS ATTORNEYS’ FEES.
                                                                7          “A subpoena duces tecum is itself a court order, and noncompliance may warrant
                                                                8 contempt sanctions. A contempt charge against a nonparty may be either of a criminal or a

                                                                9 civil nature.” Poly-Med, 2017 WL 2291942, at *2 (citing Pennwalt Corp. v. Durand-

                                                               10 Wayland, Inc., 708 F.2d 492, 494 n. 5 (9th Cir. 1983)) (alteration omitted); see also FRCP

                                                               11 45(g) (“The court for the district where compliance is required—and also, after a motion is
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                                                               12 transferred, the issuing court—may hold in contempt a person who, having been served,
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                                                               13 fails without adequate excuse to obey the subpoena or an order related to it.”).
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                                  10001 Park Run Drive




                                                               14          While criminal contempt is meant “to punish past defiance of a court’s judicial
                                                               15 authority,” civil contempt is intended to “compel obedience with a court order, or to

                                                               16 compensate the contemnor’s adversary for the injuries resulting from the non-compliance.”

                                                               17 Poly-Med, 2017 WL 2291942, at *3 (quoting Falstaff Brewing Corp. v. Miller Brewing Co.,

                                                               18 702 F.2d 770, 778 (9th Cir. 1983)) (emphasis added); see also LR 37-4 (“The failure of any

                                                               19 counsel to comply with or cooperate in the foregoing procedures may result in the

                                                               20 imposition of sanctions.”); LR 83-7(b) (“The violation of or failure to conform to any of

                                                               21 these Local Rules may subject the offending party or counsel to … the imposition of costs

                                                               22 and attorneys’ fees to opposing counsel, if the Court finds that the conduct rises to the level

                                                               23 of bad faith and/or a willful disobedience of a court order … ”).

                                                               24          “In a civil contempt action, the moving party has the burden of showing by clear and
                                                               25 convincing evidence that the contemnors violated a specific and definite order of the court.”

                                                               26 Fed. Trade Comm’n v. Enforma Nat. Prod., Inc., 362 F.3d 1204, 1211 (9th Cir. 2004)
                                                               27 (alterations and internal quotation marks omitted).           “The burden then shifts to the
                                                               28 contemnors to demonstrate why they were unable to comply.” Id.
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                                                                1          In order for Respondents “[t]o satisfy this burden [they are] required to show
                                                                2 ‘categorically and in detail’ why they were unable to comply … ” Donovan v. Mazzola, 716

                                                                3 F.2d 1226, 1240 (9th Cir. 1983); see also Poly-Med, 2017 WL 2291942, at *3 (citing

                                                                4 Donovan).      Here, Respondents have not met that burden, having acknowledged and
                                                                5 committed to producing, over months of communications, several responsive documents

                                                                6 that are known to exist but which they have continued to withhold.               Not only have
                                                                7 Respondents wasted significant time, they have cost Movant a great deal in attorneys’ fees

                                                                8 in attempting, in good faith, to resolve these issues without judicial intervention.

                                                                9          Therefore, this Court GRANTS the motion to the extent it requests a determination
                                                               10 of entitlement to attorneys’ fees.      Movant shall have twenty-one (21) days to submit
                                                               11 supplemental briefing to prove up the amount of its attorneys’ fees and to demonstrate the
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                                                               12 reasonableness of the amount requested.
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                                                               13                                                III.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14                                         CONCLUSION
                                                               15          For the foregoing reasons, Movant’s Motion to Compel Compliance with Rule 45
                                                               16 Subpoenas Duces Tecum and for Attorney Fees is GRANTED.                   Respondents Melinda
                                                               17 Beverly and Schiff & Shelton, Attorneys at Law, are ORDERED to serve full and

                                                               18 substantive responses to Movant’s Subpoenas, which shall include all documents responsive

                                                               19 to the Subpoenas within Respondents’ possession, custody, or control, within fourteen (14)

                                                               20 calendar days from the date of this Order.

                                                               21          Dated this      day of October, 2020.
                                                               22

                                                               23

                                                               24                                                  UNITED STATES MAGISTRATE JUDGE
                                                               25

                                                               26
                                                               27

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